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                    1   ROME & ASSOCIATES, A.P.C.
                        Eugene Rome (admitted pro hac vice)
                    2   Sridavi Ganesan (admitted pro hac vice)
                        Brianna Dahlberg (admitted pro hac vice)
                    3   2029 Century Park East, Suite 450
                        Los Angeles, CA 90067
                    4   Telephone: 310-282-0690
                        Facsimile: 310-282-0691
                    5   erome@romeandassociates.com
                        sganesan@romeandassociates.com
                    6   bdahlberg@romeandassociates.com
                    7   FENNEMORE CRAIG, P.C.
                        Todd S. Kartchner (No. 021857)
                    8   Mario C. Vasta (No. 033254)
                        2394 E. Camelback Road
                    9   Suite 600
                        Phoenix, AZ 85016
                  10    Telephone: (602) 916-5000
                        tkartchner@fennemorelaw.com
                  11    mvasta@fennemorelaw.com
                        Attorneys for Defendants/Counterclaimants
                  12    Namecheap, Inc. and WhoisGuard, Inc.
                  13                                  UNITED STATES DISTRICT COURT
                  14                                        DISTRICT OF ARIZONA
                  15    Meta Platforms, Inc., a Delaware                    No. 2:20 cv 00470 PHX GMS
                        corporation; Instagram LLC, a Delaware
                  16    limited liability company; and WhatsApp            NOTICE OF SUBSTITUTION OF
                        LLC, a Delaware corporation,                       COUNSEL WITHIN FIRM
                  17
                                             Plaintiffs,
                  18
                                   v.
                  19
                        Namecheap Inc., a Delaware corporation;
                  20    and WhoisGuard Inc., a Republic of
                        Panama corporation,
                  21
                                             Defendants.
                  22
                  23
                        AND RELATED COUNTERCLAIM
                  24
                  25               Notice is hereby given, pursuant to Local Rule 83.3(b)(4), that effective immediately

                  26    Todd S. Kartchner (tkartchner@fennemorelaw.com) has been substituted in the place of
FENNEMORE CRAIG, P.C.
       PHOENIX




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                          Case 2:20-cv-00470-GMS Document 184 Filed 01/27/22 Page 2 of 2




                    1   Ray K. Harris, who is no longer with Fennemore Craig, P.C., as counsel of record for
                    2   Defendants and Counterclaimants Namecheap, Inc. and WhoisGuard, Inc.
                    3              Attorneys Eugene Rome, Sridavi Ganesan, Brianna Dahlberg and Mario C. Vasta
                    4   shall continue to represent Defendants and Counterclaimants as counsel of record in
                    5   addition to Mr. Kartchner.
                    6              DATED this 27th day of January, 2022.
                    7
                                                                      FENNEMORE CRAIG, P.C.
                    8
                    9
                                                                      By: s/ Mario C. Vasta
                  10                                                      Todd S. Kartchner
                                                                          Mario C. Vasta
                  11
                                                                           ROME & ASSOCIATES, A.P.C.
                  12                                                       Eugene Rome
                                                                           Sridavi Ganesan
                  13                                                       Brianna Dahlberg
                  14                                                       Attorneys for Defendants/
                                                                           Counterclaimants Namecheap, Inc. and
                  15                                                       WhoisGuard, Inc.
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FENNEMORE CRAIG, P.C.
       PHOENIX


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